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                                               EXHIBIT “A”


PROFESSIONAL                      PRACTICE          YEAR             HOURS         RATE                FEE
                                  AREA              ADMITTED

Sandra A. Bloch                   Corporate         1979                 11.60       550.00           6,380.00

Mark E. Felger*                   Bankruptcy        1989               159.20        525.00          83,580.00

Peter J. Fontaine                 Environmental     1990                 51.80       430.00          22,274.00

Jerrold N. Poslusny, Jr.          Bankruptcy        1999               126.70        375.00          47,512.50

Jennifer H. Unhoch                Litigation        2001                 43.90       275.00          12,072.50

Jennifer S. Reynolds              Corporate         2002                  1.70       315.00            535.50

Angelita Caldwell                 Environmental     2008                  6.70       220.00           1,474.00

Debbie Reyes, paralegal           Bankruptcy        n/a                  44.00       195.00           8,580.00

Maryann Millis, paralegal         Bankruptcy        n/a                   7.70       185.00           1,424.50

Keely M. Smith                    Real Estate       n/a                   1.40       100.00            140.00

        TOTAL:                                                         454.70                   $183,973.00




* Mr. Felger was certified by the American Board of Certification in business bankruptcy in 2005.




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                                            EXHIBIT “C”

                                  SUMMARY OF DISBURSEMENTS
DISBURSEMENTS                                                         AMOUNT

a) Computer Assisted Legal Research                                                608.08

b) Facsimile (with rates)                                                            5.00
   No. of Pages 5         Rate per Page $1.00   (Max. $1.00/pg.)

c) Long Distance Telephone                                                         202.88

d) In-House Reproduction                                                           651.40
   No. of Pages 3,257 Rate per Page .20          (Max. .20¢pg.)

e) Outside Reproduction                                                            404.96

f) Outside Research




g) Filing/Court Fees                                                               300.00

h) Court Reporting

i) Travel                                                                          141.40

j) Courier & Express Carriers (e.g. Federal Express)                               391.02

k) Postage                                                                         744.42

l) Other (Explain)

                 Luncheon Meeting                                                   25.68

                 Miscellaneous                                                       2.00

                 Secretarial Overtime                                              422.64

DISBURSEMENT TOTAL:                                                            $3,899.48




CHERRY_HILL\452577\1 220718.000
